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      Attorneys for Defendant,
 9    COUNTY OF RIVERSIDE
10
11                                UNITED STATES DISTRICT COURT
12                           CENTRAL DISTRICT OF CALIFORNIA
13
     DEMAR SMITH, an individual and as          Case No.: 5:16-cv-00227-JGB (KKx)
14   Successor in Interest to Anthonie Smith,   [Hon. Jesus G. Bernal, District Judge;
     deceased,                                  Hon. Kenly Kiya Kato, Magistrate Judge]
15
16                   Plaintiff,                 ANSWER OF DEFENDANT TO
               vs.                              COMPLAINT FOR DAMAGES AND
17
                                                DEMAND FOR JURY TRIAL
18
      COUNTY OF RIVERSIDE, a
19    municipality; and DOES 1 through 10,
      inclusive,                                Complaint Filed: February 5, 2015
20                                              Trial Date: Not Yet Set
21
                     defendant.
22
23
24
25          Defendant COUNTY OF RIVERSIDE, a municipality (“Defendant”) hereby

26    answers plaintiff’s Complaint for Damages filed February 5, 2015 (hereinafter,

27    “Complaint”) and defendant hereby admit, denies, and allege as follows:

28



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 1                        ANSWER TO PLAINTIFF’S COMPLAINT
 2                                JURISDICTION AND VENUE
 3          1.     Answering paragraph number 1 of plaintiff’s Complaint (under the header
 4    “Jurisdiction and Venue”) defendant admits this Court has jurisdiction.
 5          2.     Answering paragraph number 2 of plaintiff’s Complaint (under the header
 6    “Jurisdiction and Venue”) defendant admits this Court that venue is proper.
 7                                            PARTIES
 8          3.     Answering paragraph number 3 of plaintiff’s Complaint (under the header
 9    “Parties”), at present, defendant does not have sufficient knowledge, or information or
10    belief, to enable defendant to answer the allegations contained within such paragraph,
11    as stated, and on those grounds denies generally and specifically each and every of the
12    allegations contained therein.
13          4.     Answering paragraph number 4 of plaintiff’s Complaint (under the header
14    “Parties”), at present, defendant does not have sufficient knowledge, or information or
15    belief, to enable defendant to answer the allegations contained within such paragraph,
16    as stated, and on those grounds denies generally and specifically each and every of the
17    allegations contained therein.
18          5.     Answering paragraph number 5 of plaintiff’s Complaint (under the header
19    “Parties”) defendant admits that defendant County of Riverside (hereinafter “County”)
20    is and, at all relevant times was, a municipal entity or political subdivision of the
21    United States, organized and existing under the laws of the State of California.
22          6.     Answering paragraph number 6 of plaintiff’s Complaint (under the header
23    “Parties”), as to the unnamed parties, at present, defendant does not have sufficient
24    knowledge, information, or belief to enable defendant to answer the allegations
25    contained within such paragraph, as stated, and on those grounds denies generally and
26    specifically each and every of the allegations contained therein.
27          7.     Answering paragraph number 7 of plaintiff’s Complaint (under the header
28    “Parties”), defendant admits that a timely Claim for Damages by plaintiff was received


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 1    by the County of Riverside in substantial compliance with California Government
 2    Code section 910, et seq. Defendant further admits that the Claim for Damages was
 3    denied.
 4          8.     Answering paragraph number 8 of plaintiff’s Complaint (under the header
 5    “Parties”), defendant does not presently have sufficient knowledge, information, or
 6    belief to enable defendant to answer the allegations contained within such paragraph,
 7    as stated, and on those grounds denies generally and specifically each and every of the
 8    allegations contained therein.
 9          9.     Answering paragraph number 9 of plaintiff’s Complaint (under the header
10    “Parties”), defendant does not presently have sufficient knowledge, information, or
11    belief to enable defendant to answer the allegations contained within such paragraph,
12    as stated, and on those grounds denies generally and specifically each and every of the
13    allegations contained therein.
14          10.    Answering paragraph number 10 of plaintiff’s Complaint (under the
15    header “Parties”), defendant denies that the County was the agent of any defendant
16    deputy, and defendant denies that any defendant deputies were agents of each other or
17    of any of the individual non-entity defendant. As to the remaining allegations of this
18    paragraph, defendant does not presently have sufficient knowledge, information, or
19    belief to enable defendant to answer the allegations contained within such paragraph,
20    as stated, and on those grounds denies generally and specifically each and every of the
21    allegations contained therein.
22                           FACTS COMMON TO ALL COUNTS
23          11.    Answering paragraph number 11 of plaintiff’s Complaint (under the
24          header “Facts Common to All Counts”), defendant denies generally and
25    specifically each and every of the remaining allegations contained therein – and
26    defendant denies all liability and/or wrongdoing.
27          12.    Answering paragraph number 12 of plaintiff’s Complaint (under the
28



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 1    header “Facts Common to All Counts”), defendant denies generally and specifically
 2    each and every of the allegations contained therein – and defendant denies all liability
 3    and/or wrongdoing.
 4          13.    Answering paragraph number 13 of plaintiff’s Complaint (under the
 5    header “Facts Common to All Counts”), defendant denies generally and specifically
 6    each and every of the allegations contained therein – and defendant denies all liability
 7    and/or wrongdoing.
 8                                FIRST CAUSE OF ACTION
 9          14.    Answering paragraph number 14 of plaintiff’s Complaint (under the
10    header “For the First Cause of Action”), this paragraph re-alleges and incorporates
11    plaintiff’s allegations in the preceding paragraphs. Accordingly, in response to this
12    paragraph, defendant incorporates by reference here defendant’s answers to each of the
13    corresponding and aforementioned allegations/paragraphs of plaintiff’s Complaint. To
14    the extent that this paragraph alleges specific facts not otherwise incorporated herein
15    above, defendant does not presently have sufficient knowledge, information, or belief
16    to enable defendant to answer the allegations contained within such paragraph, as
17    stated, and on those grounds deny generally and specifically each and every of the
18    allegations contained therein.
19          15.    Answering paragraph number 15 of plaintiff’s Complaint (under the
20    header “For the First Cause of Action), defendant denies generally and specifically
21    each and every of the allegations contained therein – and defendant denies all liability
22    and/or wrongdoing.
23          16.    Answering paragraph number 16 of plaintiff’s Complaint (under the
24    header “For the First Cause of Action”), defendant does not presently have sufficient
25    knowledge, information, or belief to enable defendant to answer the allegations
26    contained within such paragraph, as stated, and on those grounds deny generally and
27    specifically each and every of the allegations contained therein.
28          17.    Answering paragraph number 17 of plaintiff’s Complaint (under the


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 1    header “For the First Cause of Action”), defendant denies all of the allegations and
 2    contentions of this paragraph – and defendant denies all liability and/or wrongdoing.
 3          18.    Answering paragraph number 18 of plaintiff’s Complaint (under the
 4    header “For the First Cause of Action”) defendant denies generally and specifically
 5    each and every of the remaining allegations contained therein – and defendant denies
 6    all liability and/or wrongdoing.
 7          19.    Answering paragraph number 19 of plaintiff’s Complaint (under the
 8    header “For the First Cause of Action”), defendant denies generally and specifically
 9    each and every of the remaining allegations contained therein – and defendant denies
10    all liability and/or wrongdoing.
11          20.    Answering paragraph number 20 of plaintiff’s Complaint (under the
12    header “For the First Cause of Action”), defendant denies generally and specifically
13    each and every of the remaining allegations contained therein – and defendant denies
14    all liability and/or wrongdoing.
15          21.    Answering paragraph number 21 of plaintiff’s Complaint (under the
16    header “For the First Cause of Action”), defendant denies generally and specifically
17    each and every of the allegations contained therein – and defendant denies all liability
18    and/or wrongdoing.
19          22.    Answering paragraph number 22 of plaintiff’s Complaint (under the
20    header “For the First Cause of Action”), defendant denies all of the allegations and
21    contentions of this paragraph – and defendant denies all liability and/or wrongdoing.
22          23.    Answering paragraph number 23 of plaintiff’s Complaint (under the
23    header “For the First Cause of Action”), defendant denies all of the allegations and
24    contentions of this paragraph – and defendant denies all liability and/or wrongdoing.
25    Defendant denies that it’s actions were willful, wanton, and malicious with reckless
26    disregard to plaintiff’s rights. Defendant denies that plaintiff is entitled to general,
27    special and/or punitive damages.
28



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 1          24.    Answering paragraph number 24 of plaintiff’s Complaint (under the
 2    header “For the First Cause of Action”), defendant denies all of the allegations and
 3    contentions of this paragraph – and defendant denies all liability and/or wrongdoing.
 4    Defendant denies that it’s actions were willful, wanton and malicious with reckless
 5    disregard to plaintiff’s rights. Defendant denies that plaintiff is entitled to general,
 6    special and/or punitive damages.
 7          25.    Answering paragraph number 25 of plaintiff’s Complaint (under the
 8    header “For the First Cause of Action, defendant denies all of the allegations and
 9    contentions of this paragraph – and defendant denies all liability and/or wrongdoing.
10    Defendant denies that it’s actions were willful, wanton and malicious with reckless
11    disregard to plaintiff’s rights. Defendant denies that plaintiff is entitled to general,
12    special and/or punitive damages.
13          26.    Answering paragraph number 26 of plaintiff’s Complaint (under the
14    header “For the First Cause of Action”), defendant denies all of the allegations and
15    contentions of this paragraph – and defendant denies all liability and/or wrongdoing.
16    Defendant denies that it’s actions were willful, wanton and malicious with reckless
17    disregard to plaintiff’s rights. Defendant denies that plaintiff is entitled to general,
18    special, punitive damages and/or attorney’s fees.
19                                SECOND CAUSE OF ACTION
20          27.    Answering paragraph number 27 of plaintiff’s Complaint (under the
21    header “For the Second Cause of Action”), this paragraph re-alleges and incorporates
22    plaintiff’s allegations in the preceding paragraphs. Accordingly, in response to this
23    paragraph, defendant incorporate by reference here defendant’ answers to each of the
24    corresponding and aforementioned allegations/paragraphs of plaintiff’s Complaint. To
25    the extent that this paragraph alleges specific facts not otherwise incorporated herein
26    above, at present, defendant does not have sufficient knowledge, or information or
27    belief, to enable defendant to answer the remaining allegations contained within such
28



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 1    paragraph, and on those grounds denies generally and specifically each and every of
 2    the remaining allegations contained therein.
 3          28.    Answering paragraph number 28 of plaintiff’s Complaint (under the
 4    header “For the First Cause of Action”), defendant denies generally and specifically
 5    each and every of the allegations contained therein – and defendant denies all liability
 6    and/or wrongdoing.
 7          29.    Answering paragraph number 29 of plaintiff’s Complaint (under the
 8    header “For the Second Cause of Action”), defendant denies generally and specifically
 9    each and every of the remaining allegations contained therein – and defendant denies
10    all liability and/or wrongdoing.
11          30.    Answering paragraph number 30 of plaintiff’s Complaint (under the
12    header “For the Second Cause of Action”), defendant denies all of the allegations and
13    contentions of this paragraph – and defendant denies all liability and/or wrongdoing.
14          31.    Answering paragraph number 31 of plaintiff’s Complaint (under the
15    header “For the Second Cause of Action”), defendant denies all of the allegations and
16    contentions of this paragraph – and defendant denies all liability and/or wrongdoing.
17          32.    Answering paragraph number 32 of plaintiff’s Complaint (under the
18    header “For the Second Cause of Action”), defendant denies all of the allegations and
19    contentions of this paragraph – and defendant denies all liability and/or wrongdoing.
20          33.    Answering paragraph number 33 of plaintiff’s Complaint (under the
21    header “For the Second Cause of Action”), defendant denies generally and specifically
22    each and every of the allegations contained therein – and defendant denies all liability
23    and/or wrongdoing. Defendant denies that it’s actions were willful, wanton and
24    malicious with reckless disregard to plaintiff’s rights. Defendant denies that plaintiff is
25    entitled to general, special and/or punitive damages.
26          34.    Answering paragraph number 34 of plaintiff’s Complaint (under the
27    header “For the Second Cause of Action”), defendant denies generally and specifically
28



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 1    each and every of the allegations contained therein – and defendant denies all liability
 2    and/or wrongdoing.
 3          35.    Answering paragraph number 35 of plaintiff’s Complaint (under the
 4    header “For the Second Cause of Action”), defendant denies generally and specifically
 5    each and every of the allegations contained therein – and defendant denies all liability
 6    and/or wrongdoing. Defendant denies that it’s actions were willful, wanton and
 7    malicious with reckless disregard to plaintiff’s rights. Defendant denies that plaintiff is
 8    entitled to general, special and/or punitive damages.
 9                                THIRD CAUSE OF ACTION
10          36.    Answering paragraph number 36 of plaintiff’s Complaint (under the
11    header “For the Third Cause of Action”), this paragraph re-alleges and incorporates
12    plaintiff’s allegations in the preceding paragraphs. Accordingly, in response to this
13    paragraph, defendant incorporate by reference here defendant’ answers to each of the
14    corresponding and aforementioned allegations/paragraphs of plaintiff’s Complaint. To
15    the extent that this paragraph alleges specific facts not otherwise incorporated herein
16    above, at present, defendant do not have sufficient knowledge, or information or belief,
17    to enable defendant to answer the remaining allegations contained within such
18    paragraph, and on those grounds denies generally and specifically each and every of
19    the remaining allegations contained therein.
20          37.    Answering paragraph number 37 of plaintiff’s Complaint (under the
21    header “For the Third Cause of Action”), defendant denies generally and specifically
22    each and every of the allegations contained therein – and defendant denies all liability
23    and/or wrongdoing.
24          38.    Answering paragraph number 38 of plaintiff’s Complaint (under the
25    header “For the Third Cause of Action”), defendant denies generally and specifically
26    each and every of the remaining allegations contained therein – and defendant denies
27    all liability and/or wrongdoing.
28          39.    Answering paragraph number 39 of plaintiff’s Complaint (under the


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 1    header “For the Third Cause of Action”), defendant denies all of the allegations and
 2    contentions of this paragraph – and defendant denies all liability and/or wrongdoing.
 3          40.     Answering paragraph number 40 of plaintiff’s Complaint (under the
 4    header “For the Third Cause of Action”), defendant denies all of the allegations and
 5    contentions of this paragraph – and defendant denies all liability and/or wrongdoing.
 6          41.     Answering paragraph number 41 of plaintiff’s Complaint (under the
 7    header “For the Third Cause of Action”), defendant denies all of the allegations and
 8    contentions of this paragraph – and defendant denies all liability and/or wrongdoing.
 9          42.     Answering paragraph number 42 of plaintiff’s Complaint (under the
10    header “For the Third Cause of Action”), defendant denies all of the allegations and
11    contentions of this paragraph – and defendant denies all liability and/or wrongdoing.
12          43.     Answering paragraph number 43 of plaintiff’s Complaint (under the
13    header “Parties”), defendant do not presently have sufficient knowledge, information,
14    or belief to enable defendant to answer the allegations contained within such
15    paragraph, as stated, and on those grounds denies generally and specifically each and
16    every of the allegations contained therein. Defendant denies all liability and/or
17    wrongdoing. Defendant denies that it’s actions were willful, wanton and malicious
18    with reckless disregard to plaintiff’s rights. Defendant denies that plaintiff is entitled
19    to general, special and/or punitive damages.
20          44.     Answering paragraph number 44 of plaintiff’s Complaint (under the
21    header “Parties”), defendant does not presently have sufficient knowledge,
22    information, or belief to enable defendant to answer the allegations contained within
23    such paragraph, as stated, and on those grounds denies generally and specifically each
24    and every of the allegations contained therein. Defendant denies all liability and/or
25    wrongdoing.
26          45.     Answering plaintiff's Prayer for Relief, defendant denies all liability to
27
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 1    plaintiff, including but not limited to all liability for any damages (general, special,
 2    exemplary or otherwise), penalties, fees, or costs of any kind, or for any relief of any
 3    kind from any of the defendant to plaintiff.
 4           46.    To the extent plaintiff asserts any other claims or contentions not
 5
      specifically addressed herein above, defendant generally and specifically denies each
 6
      and every of the remaining allegations and/or claims.
 7
                                      AFFIRMATIVE DEFENSES
 8
             47.    As separate and affirmative defenses, defendant alleges as follows1:
 9
                                  FIRST AFFIRMATIVE DEFENSE
10
             48.    Plaintiff’s Complaint fails to state a claim upon which relief can be
11
      granted. Plaintiff’s Complaint also fails to state a claim against any defendant in this
12
      action.
13
             49.    Plaintiff has failed to allege in this Complaint sufficient facts to state a
14
      claim for compensatory or punitive damages for any action taken by any defendant in
15
      his or her individual or official capacity.
16
                                SECOND AFFIRMATIVE DEFENSE
17
             50.    Plaintiff’s action is time-barred by the operative statute(s) of limitations.
18
      Plaintiffs’ Complaint and each purported cause of action therein is barred by the
19
      applicable statute of limitations, including, but not limited to California Code of Civil
20
      Procedure §§ 335.1, 337, 337.1, 337.15, 338(a), 338(b), 338(c), 338(d), 339, 340(3)
21
      and/or 343.
22
             51.    Plaintiff’s action is barred by laches and delay on the plaintiff’s part to the
23
      prejudice of defendant.
24
25    1
              For purposes of the affirmative defenses, affirmative defenses that reference “plaintiff(s)”
26    shall also be construed to apply, wherever feasible, to plaintiff’s decedent. It should be noted that
      some defenses listed hereunder are not true “affirmative” defenses wherein the defendant asserting
27    such bears the burden of proof – and nothing in this Answer shall be construed as defendant assuming
      the burden of proof for any defenses that are not construed as affirmative defenses under the
28    operative law.


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 1                             THIRD AFFIRMATIVE DEFENSE
 2          52.    The Complaint is barred based on plaintiff’s failure to exhaust
 3    administrative remedies prior to filing this lawsuit. This action is barred by the
 4    plaintiff’s failure to comply with the government tort claims presentation requirements,
 5    California Government Code § 900, et seq., including, but not limited to §§ 900, 900.4,
 6    901, 905, 905.2, 910, 911, 911.2, 911.4, 945.4, 945.6, 946.6, 950.2 and 950.6, to the
 7    extent applicable.
 8          53.    Plaintiff’s recovery is barred for failure to timely comply with the
 9    provisions of the claims statutes, including, but not limited to California Government
10    Code §§ 901, 905, 905.2, 911.2, 945.4, 945.6, 950.2.
11          54.    Plaintiff’s recovery is barred because the factual allegations of the
12    complaint do not correspond with the facts set forth in plaintiff’s written claim. The
13    complaint thereby alleges a factual basis for recovery which is not fairly reflected in
14    the written claim.
15                            FOURTH AFFIRMATIVE DEFENSE
16          55.    Plaintiff’s claims are barred or limited by plaintiff’s and/or decedent’s
17    contributory/comparative negligence or other conduct, acts, or omissions, and to the
18    extent any plaintiff suffered any injury or damages, it was the result of plaintiff’s
19    and/or decedent’s own negligent or deliberate actions or omissions.
20          56.    Plaintiff’s recovery is barred because any injury or damage suffered by
21    plaintiff’s decedent and/or to plaintiff was caused solely by reason of the plaintiff’s
22    decedent’s wrongful acts and conduct and the willful resistance to a peace officer in
23    the discharge their duties. The conduct set forth in the complaint, if and to the extent it
24    occurred, was privileged and justified and done with a good faith belief that it was
25    correct and no action may be taken against the answering defendant on account of such
26    conduct.
27
28



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 1                             FIFTH AFFIRMATIVE DEFENSE
 2          57.    Defendant allege that plaintiff’s action is barred by reason of conduct,
 3    actions, and inactions of plaintiffs which amount to and constitute a waiver of any right
 4    plaintiff may or might have had in reference to the matters and things alleged in the
 5    Complaint, or that otherwise estop plaintiff from recovery in this action, including but
 6    not limited to the doctrine of unclean hands.
 7                             SIXTH AFFIRMATIVE DEFENSE
 8          58.    Plaintiff’s claims are barred or limited to the extent any plaintiff failed to
 9    mitigate plaintiff’s injuries or damages, if there were any. Plaintiff has failed to
10    mitigate the damages, if any, which plaintiff has sustained, and to exercise reasonable
11    care to avoid the consequences of harms, if any, in that, among other things, plaintiff
12    has failed to use reasonable diligence in caring for any injuries, failed to use reasonable
13    means to prevent aggravation of any injuries and failed to take reasonable precautions
14    to reduce any injuries and damages.
15                           SEVENTH AFFIRMATIVE DEFENSE
16          59.    Plaintiff’s recovery is barred because public entities and employees are
17    immune from liability for any injury caused by the act or omission of another person.
18    Gov. Code §§ 815 et seq., 820.2 et seq.
19          60.    The answering defendant are informed and believe and thereon alleges
20    that if any plaintiff sustained any injury or damages, such injury or damages were
21    solely caused or contributed to by the wrongful conduct of other defendant and/or
22    entities or persons other than the answering defendant. To the extent that any
23    plaintiff’s damages were so caused, any recovery by plaintiff as against the answering
24    defendant should be subject to proportionately comparative equitable
25    indemnity/contribution from such third parties.
26
27
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 1                             EIGHTH AFFIRMATIVE DEFENSE
 2          61.     There is no liability for any injury or damages, if any there were, resulting
 3    from an exercise of discretion vested in a public employee, whether or not such
 4    discretion be abused. Gov. Code § 815.2, 820.2, 820.4, 820.8, 820 et seq.
 5          62.     Plaintiff’s recovery is barred because public entities and employees are
 6    immune from liability for discharging their mandatory duties with reasonable
 7    diligence.
 8          63.     A public employee may not be held liable for injuries or damages, if any,
 9    caused by failure to adopt or by adoption of an enactment or by failure to enforce an
10    enactment and/or law, for an injury caused by his issuance, denial, suspension or
11    revocation or by his failure or refusal to issue, denies, suspend or revoke, any permit,
12    license, certificate, approval, order, or similar authorization, where he is authorized by
13    enactment to determine whether or not such authorization should be issued, denied,
14    suspended or revoked, pursuant to Government Code §§ 818.2, 818.4, 818.8, 821 and
15    821.2. Based thereon, each of the answering defendant is immune from liability for
16    any injuries claimed by plaintiff, herein.
17          64.     This defendant is immune for any detriment resulting from any of it’s
18    actions or omissions at the time of the incident of which plaintiff complains pursuant to
19    Government Code § 810 et seq., 815 et seq., 820 et seq., and 845 et seq., including, but
20    not limited to, §§ 810, 810.2, 810.4, 810.6, 810.8, 811, 811.2, 811.4, 811.6, 811.8,
21    820.6, 820.8, 821, 821.2, 821.4, 821.6, 821.8, 822.2, 830.5, 830.6, 835.4, 844.6, and
22    Government Code §§ 854, et seq., including, but not limited to, §§ 845.6, 854.6,
23    854.8(a)(2), and §§ 855.4, 855.6, 855.8 and 856.4.
24                              NINTH AFFIRMATIVE DEFENSE
25          65.     Defendant and it’s agents or officers at all times relevant to this action
26    acted reasonably and prudently under the circumstances. Defendant therefore asserts
27    the individual defendant’ Qualified Immunity from liability to the fullest extent
28    applicable.


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 1          66.    Defendant is immune from liability under the Federal Civil Rights Act
 2    because they acted in good faith with an honest and reasonable belief that their actions
 3    were necessary and appropriate. Defendant is immune from liability under the Federal
 4    Civil Rights Act because a reasonable police officer could believe that their acts and
 5    conduct were appropriate. Defendant is immune from liability under the Federal Civil
 6    Rights Act because their conduct did not violate clearly established rights. Defendant
 7    is also immune from liability under the doctrine of Qualified Immunity.
 8          67.    At all relevant times, defendant acted within the scope of discretion, with
 9    due care, and good faith fulfillment of responsibilities pursuant to applicable statutes,
10    rules and regulation, within the bounds of reason, and with the good faith belief that
11    their actions comported with all applicable federal and state laws. Harlow v. Fitzgerald
12    (1982) 457 U.S. 800; Cal Gov. Code §§ 815.2 and 820.2.
13                             TENTH AFFIRMATIVE DEFENSE
14          68.    At the time and place referred to in the Complaint, and before such event,
15    plaintiff’s decedent knew, appreciated, and understood each and every risk involved in
16    placing himself in the position which plaintiff’s decedent then assumed, and willingly,
17    knowingly, and voluntarily assumed each of such risks, including, but not limited to,
18    the risk of suffering personal bodily injury, lawful deprivation of rights, or death.
19                          ELEVENTH AFFIRMATIVE DEFENSE
20          69.    The Complaint is barred under the doctrine of collateral estoppel (issue
21    preclusion) or res judicata (claim preclusion).
22                           TWELFTH AFFIRMATIVE DEFENSE
23          70.    At the time of Trial, the answering defendant may elect to limit or
24    diminish plaintiff’s alleged damages of losses as provided and authorized by California
25    Civil Code § 3333.1, California Civil Code § 3333.2 and California Code of Civil
26    Procedure § 667.1, and the provisions of Proposition 51 as enacted into law in the State
27    of California.
28



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 1          71.    In the event that the answering defendant herein is found to be liable for
 2    damages to any plaintiff, the liability, if any, for any amount of non-economic
 3    damages, if awarded, shall be reduced or limited pursuant to Civil Code § 1431.2, in
 4    direct proportion to each individual answering defendant’s percentage of negligence or
 5    fault in relation to the fault of all joint tortfeasors, or other liable persons, whether
 6    joined as defendant or not; and that a separate judgment be rendered against each
 7    answering defendant for such amount.
 8                         THIRTEENTH AFFIRMATIVE DEFENSE
 9          72.    This defendant owed no legal duty to plaintiff and/or plaintiff’s decedent,
10    as described in plaintiff’s Complaint, or otherwise.
11                         FOURTEENTH AFFIRMATIVE DEFENSE
12          73.    To the extent that any plaintiff suffered any detriment, such detriment was
13    unavoidable.
14          74.    The damages or injuries complained of by plaintiff, if any, were the result
15    of an emergency situation, not created by any fault of any defendant, and into which
16    they suddenly and unexpectedly were placed.
17          75.    The answering defendant is informed and believe and thereon alleges that
18    the damages complained of in plaintiff’s Complaint, if any, resulted from an
19    unforeseeable and superseding cause thereby barring either partially or totally
20    plaintiff’s claimed damages herein. The answering defendant is informed and believes
21    and thereon alleges that each and all of the purported causes of action and theories of
22    relief asserted by plaintiff in the Complaint are barred by virtue of an independent
23    intervening cause.
24                           FIFTEENTH AFFIRMATIVE DEFENSE
25          76.    Plaintiff’s claims are barred for failure to join an indispensable party
26    under Federal Rule of Civil Procedure 19.
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 1                         SIXTEENTH AFFIRMATIVE DEFENSE
 2          77.    To the extent that the Complaint attempts to predicate liability upon any
 3    public entity defendant or any employee thereof for purported negligence in retention,
 4    hiring, employment, training, or supervision of any public employee, such liability is
 5    barred by Government Code sections 815.2 and 820.2 and Herndon v. County of Marin
 6    (1972) 25 Cal. App. 3d 933, 935, 936, rev’d on other grounds by Sullivan v. County of
 7    Los Angeles (1974) 12 Cal.3d 710; and by the lack of any duty running to any plaintiff;
 8    by the fact that any such purported act or omission is governed exclusively by statute
 9    and is outside the purview of any public employees’ authority; and by the failure of
10    any such acts or omissions to be the proximate or legal cause of any injury alleged in
11    the Complaint. See de Villers v. County of San Diego, 156 Cal.App.4th 238, 251-253,
12    255-256 (2007).
13                       SEVENTEENTH AFFIRMATIVE DEFENSE
14          78.    This defendant may not be held liable on a respondeat superior theory for
15    any negligent or wrongful act or omission on the part of any subordinate. Cal.
16    Government Code §§ 844.6, 845.6; Cal. Civil Code § 2351; Malloy v. Fong (1951) 37
17    Cal.2d 356, 378-379; Monell v. Department of Social Services of the City of New York
18    (1978) 436 U.S. 658; Larez v. City of Los Angeles (9th Cir. 1991) 946 F.2d 630, 645-
19    646; cf. City of Canton v. Harris, 489 U.S. 378, 388-389 (1989); City of Los Angeles v.
20    Heller, 475 U.S. 796 (1986).
21                        EIGHTEENTH AFFIRMATIVE DEFENSE
22          79.    Plaintiff may not recover punitive damages against a governmental entity,
23    or against governmental employees acting in their official capacity, under federal or
24    state law. Cal. Govt. Code § 818; City of Newport v. Fact Concerts, Inc. 453 U.S. 247,
25    271 (1981); Mitchell v. Dupnik, 75 F.3d 517, 527 (9th Cir. 1996).
26          80.    At no time and place mentioned in the Complaint, did defendant act with
27    deliberate indifference or malicious intent to deprive any person of any Constitutional
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 1    or legal right or to cause any other injury and, therefore, defendant is immune from
 2    liability.
 3             81.      Any claim for punitive damages is unconstitutional and invalid in that it
 4    violates the United States Constitution, including but not limited to the Due Process
 5    Clause of the Fifth or Fourteenth Amendments, as well as the Fifth, Sixth, Eighth,
 6    and/or Ninth Amendments.
 7                               NINETEENTH AFFIRMATIVE DEFENSE2
 8             82.      The acts complained of by plaintiff were committed in the course of
 9    making a lawful seizure, arrest, or search. In making this lawful seizure, the officers
10    used only reasonable force.
11             83.      Any use of force by any individual defendant was privileged as being
12    objectively reasonable or in lawful self-defense or defense of third parties and/or as
13    being appropriate to overcome resistance or to redress the commission of a public
14    offense or because peace officers had reasonable cause to believe that plaintiff’s
15    decedent had committed a public offense or that exigent circumstances existed,
16    including but not limited to an immediate threat of death or serious bodily injury to
17    defendant’ peace officers or to others.
18             84.      The plaintiff’s claims related to peace officers’ use of force are barred
19    because a peace officer making a detention or arrest need not retreat in the face of
20    resistance and cannot be deemed the aggressor or lose their right to self-defense by
21    using force.
22             85.      In the detention/arrest at issue, if any, plaintiff’s decedent was subjected
23    to a reasonable amount of non-deadly force for the protection of the officers or to
24    prevent escape of the persons detained or loss of property, all pursuant to Cal. Penal
25    Code § 490.5.
26
27    2
                 Defendant does not contend and defendant does not agree to accept any shifting of the burden of proof from
      plaintiff, who bears the burden of proving that a seizure was unlawful/unconstitutional. Defendant is not required to prove
28    that a seizure was lawful in this civil action.



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 1          86.    Defendant denies that plaintiff has been deprived of any rights, privileges,
 2    or immunities guaranteed by the Constitution or laws of the United States or by the
 3    Constitution or laws of the State of California, and therefore defendant are immune
 4    from liability.
 5          87.    Plaintiff has suffered no actual injury due to defendant’s conduct.
 6                          TWENTIETH AFFIRMATIVE DEFENSE
 7          88.    Plaintiffs’ claim under the Federal Civil Right Act is barred because the
 8    complaint fails to allege facts that go beyond mere tortious conduct and rise to the
 9    dignity of a civil rights violation.
10                      RESERVATION OF AFFIRMATIVE DEFENSES
11          89.    Because the Complaint is couched in vague and conclusory terms,
12    defendant cannot fully anticipate all affirmative defenses that may be applicable to this
13    action. Accordingly, defendant hereby reserve the right to assert additional affirmative
14    defenses, if and to the extent that such affirmative defenses are applicable, and/or to
15    withdraw affirmative defenses as may be appropriate. The assertion of any of the
16    foregoing is not intended and shall not be construed as any stipulation regarding any
17    shifting of the burden of proof to any defendant regarding any of plaintiff’s claims, or
18    elements thereof.
19                                     PRAYER FOR RELIEF
20          WHEREFORE, the answering defendant prays as follows:
21          1.     That plaintiff take nothing by this action;
22          2.     That defendant be awarded attorneys’ fees and costs of this suit and costs
23    of proof; and
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 1          3.     That defendant be awarded such other relief as the Court deems just.
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 3    Dated: March 14, 2016                   MANNING & KASS
 4                                            ELLROD, RAMIREZ, TRESTER LLP
 5
 6                                            By:   /s/ Angela M. Powell____________
                                                    Eugene P. Ramirez, Esq.
 7
                                                    Angela M. Powell, Esq.
 8                                                  Lucas E. Rowe, Esq.
 9
                                              Attorneys for Defendant,
                                              COUNTY OF RIVERSIDE
10
11                                DEMAND FOR JURY TRIAL
12          Defendant hereby demand a trial before a jury on all issues presented by
13    plaintiff’s operative Complaint that are or may be triable to a jury.
14
15    Dated: March 14, 2016                   MANNING & KASS
                                              ELLROD, RAMIREZ, TRESTER LLP
16
17
                                              By: /s/ Angela M. Powell____________
18
                                                     Eugene P. Ramirez, Esq.
19                                                   Angela M. Powell, Esq.
20                                                   Lucas E. Rowe, Esq.
                                              Attorneys for Defendant,
21                                            COUNTY OF RIVERSIDE
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